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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
CITIZENS FOR RESPONSIBILITY AND           )
ETHICS IN WASHINGTON, et al.,             )
                                          )
            Plaintiffs,                   )                  Civil Action No. 15-2038 (RC)
                                          )
      v.                                  )
                                          )
FEDERAL ELECTION COMMISSION,              )
                                          )
            Defendant.                    )
__________________________________________)


                            PLAINTIFFS’ NOTICE OF APPEAL

       Notice is given that plaintiffs in the above-captioned action, Citizens for Responsibility

and Ethics in Washington and Melanie Sloan, hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from the District Court’s February 22, 2017

memorandum opinion and order granting the defendant Federal Election Commission’s motion

for summary judgment and denying plaintiffs’ motion for summary judgment.



Dated: March 21, 2017


                                                 Respectfully submitted,


                                                 /s/ Stuart McPhail
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                                                 (D.C. Bar No. 1032529)


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                             Attorneys for Citizens for Responsibility and
                              Ethics in Washington and Melanie Sloan




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                                    CERTIFICATE OF SERVICE

       I hereby certify that, on March 21, 2017, a true and correct copy of plaintiffs’ notice of

appeal was filed and served electronically through the Court’s CM/ECF system upon the

following counsel or record:

       Gregory John Mueller
       Harry Jacobs Summers
       Kevin Deeley
       Jacob Stephen Siler
       Federal Election Commission
       Office of General Counsel
       999 E Street, NW
       Washington, DC 20463


                                                             /s/ Stuart McPhail
                                                             Stuart McPhail




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